 Fill in this information to identify your case:

 Debtor 1                   Daryl Alan Greninger
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Nichole Lynn Greninger
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF WASHINGTON

 Case number           19-02684-FPC12
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     CNH Industrial Capital                   Describe the property that secures the claim:                   $8,883.00              $41,801.00                     $0.00
         Creditor's Name                          Business debt - Case IH Steiger 275

         PO Box 71264                             As of the date you file, the claim is: Check all that
         Philadelphia, PA                         apply.
         19176-6264                                   Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number        7406




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 Debtor 1 Daryl Alan Greninger                                                                                Case number (if known)   19-02684-FPC12
               First Name                  Middle Name                      Last Name
 Debtor 2 Nichole Lynn Greninger
               First Name                  Middle Name                      Last Name


         Douglas Country
 2.2                                                                                                                        $0.00         Unknown           Unknown
         Treasurer                                  Describe the property that secures the claim:
         Creditor's Name                            Business Debt - Property Taxes

                                                    As of the date you file, the claim is: Check all that
         PO Box 609                                 apply.
         Waterville, WA 98830                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


         Farm Credit Services of
 2.3                                                                                                                 $13,992.13          $30,000.00               $0.00
         America                                    Describe the property that secures the claim:
         Creditor's Name                            John Deere, Model 9610, Combine
                                                    with Serial No. H09610X682078
                                                    John Deere, Model 930, Grain
         c/o Sahwn B Rediger                        Platform Head with Serial No.
         601 Union Street, Suite                    H00930P662021
                                                    As of the date you file, the claim is: Check all that
         4100                                       apply.
         Seattle, WA 98101                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         5030




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 Debtor 1 Daryl Alan Greninger                                                                                Case number (if known)   19-02684-FPC12
               First Name                  Middle Name                      Last Name
 Debtor 2 Nichole Lynn Greninger
               First Name                  Middle Name                      Last Name


 2.4     Glacier Family of Banks                    Describe the property that secures the claim:                    $31,191.24              $0.00        $31,191.24
         Creditor's Name



                                                    As of the date you file, the claim is: Check all that
         PO Box 1648                                apply.
         Chelan, WA 98816                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         0001

 2.5     Glacier Family of Banks                    Describe the property that secures the claim:                   $300,400.00              $0.00       $300,400.00
         Creditor's Name



                                                    As of the date you file, the claim is: Check all that
         PO Box 1648                                apply.
         Chelan, WA 98816                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         0005

 2.6     Glacier Family of Banks                    Describe the property that secures the claim:                    $92,808.14              $0.00        $92,808.14
         Creditor's Name



                                                    As of the date you file, the claim is: Check all that
         PO Box 1648                                apply.
         Chelan, WA 98816                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         0004




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 Debtor 1 Daryl Alan Greninger                                                                                Case number (if known)   19-02684-FPC12
               First Name                  Middle Name                      Last Name
 Debtor 2 Nichole Lynn Greninger
               First Name                  Middle Name                      Last Name


 2.7     Glacier Family of Banks                    Describe the property that secures the claim:                    $32,453.27         $117,000.00               $0.00
         Creditor's Name                            Business Debt - Farmland in
                                                    Mansfield, WA
                                                    Parcel Number: 28263320000
                                                    As of the date you file, the claim is: Check all that
         PO Box 1648                                apply.
         Chelan, WA 98816                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.8     Glacier Family of Banks                    Describe the property that secures the claim:                   $388,332.04         $300,400.00       $87,932.04
         Creditor's Name                            Business Debt - Farmland
                                                    inMansfield, WA
                                                    Parcel Numbers: 2625081003;
                                                    27251910001; 27252730000;
                                                    26253340002
                                                    As of the date you file, the claim is: Check all that
         PO Box 1648                                apply.
         Chelan, WA 98816                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number




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 Debtor 1 Daryl Alan Greninger                                                                                Case number (if known)   19-02684-FPC12
               First Name                  Middle Name                      Last Name
 Debtor 2 Nichole Lynn Greninger
               First Name                  Middle Name                      Last Name


 2.9     Glacier Family of Banks                    Describe the property that secures the claim:                    $96,947.75          $94,000.00         $2,947.75
         Creditor's Name                            Business Debt - Farmland in
                                                    Mansfield, WA
                                                    Parcel Numbers: 26250710002;
                                                    26251710001; 26250820001
                                                    As of the date you file, the claim is: Check all that
         PO Box 1648                                apply.
         Chelan, WA 98816                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.1
 0       Glacier Family of Banks                    Describe the property that secures the claim:                           $0.00        $75,000.00               $0.00
         Creditor's Name                            Business Debt - Farmland in
                                                    Mansfield, WA
                                                    Parcel Numbers: 27253530001;
                                                    27253520001
                                                    As of the date you file, the claim is: Check all that
         PO Box 1648                                apply.
         Chelan, WA 98816                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number




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 Debtor 1 Daryl Alan Greninger                                                                                Case number (if known)   19-02684-FPC12
               First Name                  Middle Name                      Last Name
 Debtor 2 Nichole Lynn Greninger
               First Name                  Middle Name                      Last Name


 2.1
 1       Horizon Credit Union                       Describe the property that secures the claim:                      $4,768.39          $5,000.00               $0.00
         Creditor's Name                            2004 Chevy Silverado
                                                    Son's truck, cosigned loan
                                                    As of the date you file, the claim is: Check all that
         PO Box 15128                               apply.
         Spokane, WA 99215                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit

       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         0206

 2.1
 2       Les Schwab Tires                           Describe the property that secures the claim:                        $642.03             $0.00             $642.03
         Creditor's Name                            Revolving Account - Purchase of
                                                    tires and services
                                                    As of the date you file, the claim is: Check all that
         PO Box 5350                                apply.
         Bend, OR 97708                                  Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         1340




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 Debtor 1 Daryl Alan Greninger                                                                                Case number (if known)   19-02684-FPC12
               First Name                  Middle Name                      Last Name
 Debtor 2 Nichole Lynn Greninger
               First Name                  Middle Name                      Last Name


 2.1
 3       Les Schwab Tires                           Describe the property that secures the claim:                      $1,737.41          Unknown           Unknown
         Creditor's Name                            Business Debt - Revolving Account
                                                    for purchase of tires and services
                                                    As of the date you file, the claim is: Check all that
         PO Box 5350                                apply.
         Bend, OR 97708                                  Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         0995

 2.1
 4       Les Schwab Tires                           Describe the property that secures the claim:                        $642.03             $0.00             $642.03
         Creditor's Name                            Revolving Account for purchase of
                                                    tires and services
                                                    As of the date you file, the claim is: Check all that
         PO Box 5350                                apply.
         Bend, OR 97708                                  Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         1340




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 Debtor 1 Daryl Alan Greninger                                                                                Case number (if known)   19-02684-FPC12
               First Name                  Middle Name                      Last Name
 Debtor 2 Nichole Lynn Greninger
               First Name                  Middle Name                      Last Name


 2.1     McKay Seed Company,
 5       Inc                                        Describe the property that secures the claim:                    $19,439.00              $0.00        $19,439.00
         Creditor's Name                            Business Debt

                                                    As of the date you file, the claim is: Check all that
         39355 Sorenson Rd N                        apply.
         Almira, WA 99103-8715                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.1
 6       North Cascades Bank                        Describe the property that secures the claim:                   $300,400.00              $0.00       $300,400.00
         Creditor's Name



                                                    As of the date you file, the claim is: Check all that
         PO Box 1648                                apply.
         Chelan, WA 98816                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         1868




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 Debtor 1 Daryl Alan Greninger                                                                                Case number (if known)   19-02684-FPC12
               First Name                  Middle Name                      Last Name
 Debtor 2 Nichole Lynn Greninger
               First Name                  Middle Name                      Last Name


 2.1
 7       North Cascades Bank                        Describe the property that secures the claim:                    $35,330.13              $0.00        $35,330.13
         Creditor's Name



                                                    As of the date you file, the claim is: Check all that
         PO Box 1648                                apply.
         Chelan, WA 98816                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         0490

 2.1
 8       Numerica Credit Union                      Describe the property that secures the claim:                      $4,184.93         $18,700.00               $0.00
         Creditor's Name                            2014 Ford Expedition

         PO Box 4000
                                                    As of the date you file, the claim is: Check all that
         Spokane Valley, WA                         apply.
         99037                                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         6446




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 Debtor 1 Daryl Alan Greninger                                                                                Case number (if known)   19-02684-FPC12
               First Name                  Middle Name                      Last Name
 Debtor 2 Nichole Lynn Greninger
               First Name                  Middle Name                      Last Name


 2.1
 9       Numerica Credit Union                      Describe the property that secures the claim:                    $20,329.56          $21,500.00               $0.00
         Creditor's Name                            2009 Dodge Ram 2500

         PO Box 4000
                                                    As of the date you file, the claim is: Check all that
         Spokane Valley, WA                         apply.
         99037                                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         6446

 2.2
 0       Numerica Credit Union                      Describe the property that secures the claim:                      $4,146.00             $0.00          $4,146.00
         Creditor's Name


         PO Box 4000
                                                    As of the date you file, the claim is: Check all that
         Spokane Valley, WA                         apply.
         99037                                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number




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 Debtor 1 Daryl Alan Greninger                                                                                Case number (if known)   19-02684-FPC12
               First Name                  Middle Name                      Last Name
 Debtor 2 Nichole Lynn Greninger
               First Name                  Middle Name                      Last Name


 2.2
 1       Quicken Loans                              Describe the property that secures the claim:                   $158,994.00         $190,000.00               $0.00
         Creditor's Name                            Residence

                                                    As of the date you file, the claim is: Check all that
         PO Box 6577                                apply.
         Carol Stream, IL 60197                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         1240

 2.2
 2       USDA                                       Describe the property that secures the claim:                    $20,387.70         $117,000.00               $0.00
         Creditor's Name                            Business Debt - Farmland in
         1400 Independence                          Mansfield, WA
         Avenue SW                                  Parcel Number: 28263320000
         Stop 0506                                  As of the date you file, the claim is: Check all that
                                                    apply.
         Washington, DC
         20250-0506                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number




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 Debtor 1 Daryl Alan Greninger                                                                                Case number (if known)        19-02684-FPC12
               First Name                  Middle Name                      Last Name
 Debtor 2 Nichole Lynn Greninger
               First Name                  Middle Name                      Last Name


 2.2
 3       Washington Trust Bank                      Describe the property that secures the claim:                    $22,372.78                 $10,000.00          $12,372.78
         Creditor's Name                            2008 Wildcat Fifth Wheel

                                                    As of the date you file, the claim is: Check all that
         PO Box 2127                                apply.
         Spokane, WA 99210                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         0110

 2.2
 4       Washington Trust Bank                      Describe the property that secures the claim:                    $25,000.00                 $10,000.00          $15,000.00
         Creditor's Name                            2008 Glastron 205

                                                    As of the date you file, the claim is: Check all that
         PO Box 2127                                apply.
         Spokane, WA 99210                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                                 $1,583,381.53
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                $1,583,381.53

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.3
          AgDirect
          PO Box 2409                                                                                 Last 4 digits of account number
          Omaha, NE 68103-2409




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 Debtor 1 Daryl Alan Greninger                                                               Case number (if known)          19-02684-FPC12
              First Name                Middle Name                     Last Name
 Debtor 2 Nichole Lynn Greninger
              First Name                Middle Name                     Last Name



        Name, Number, Street, City, State & Zip Code                                   On which line in Part 1 did you enter the creditor?   2.16
        Brian Walker
        Ogden Murphy Wallace PLLC                                                      Last 4 digits of account number
        1 Fifth Street, Suite 200
        Wenatchee, WA 98807-1606

        Name, Number, Street, City, State & Zip Code                                   On which line in Part 1 did you enter the creditor?   2.1
        CNH Capital
        PO Box 78004                                                                   Last 4 digits of account number
        Phoenix, AZ 85004

        Name, Number, Street, City, State & Zip Code                                   On which line in Part 1 did you enter the creditor?   2.22
        USSA Federal Savings Bank
        215 Melody Lane                                                                Last 4 digits of account number
        Wenatchee, WA 98801




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